
502 F.Supp.2d 1356 (2007)
In re: HOUSEHOLD GOODS MOVERS ANTITRUST LITIGATION.
Gary Moad, et al.
v.
Atlas Van Lines, Inc., et al., N.D. Illinois, C.A. No. 1:07-2506.
Donald J. Beach, et al.
v.
Atlas Van Lines, Inc., et al., D. South Carolina, C.A. No. 2:07-764.
No. MDL NO. 1865.
Judicial Panel on Multidistrict Litigation.
August 16, 2007.
Before JOHN G. HEYBURN, II, Chairman, D. LOWELL JENSEN, J. FREDERICK MOTZ, ROBERT L. MILLER, JR., KATHRYN H. VRATIL, DAVID R. HANSEN and ANTHONY J. SCIRICA[*], Judges of the Panel.

TRANSFER ORDER
HEYBURN, Chairman.
Plaintiffs in the District of South Carolina action have moved, pursuant to 28 U.S.C. § 1407, for coordinated or consolidated pretrial proceedings of this litigation in the District of South Carolina. This litigation currently consists of two actions, one action each in the Northern District of Illinois and the District of South Carolina. Defendants[1] support this motion, as do plaintiffs in the Northern District of Illinois action.
On the basis of the papers filed and hearing session held, we find that these *1357 actions involve common questions of fact, and that centralization under Section 1407 in the District of South Carolina will serve the convenience of the parties and witnesses and promote the just and efficient conduct of this litigation. These actions share factual questions relating to allegations that defendants entered into an agreement concerning the method for calculating fuel surcharges in violation of the Sherman Antitrust Act. Centralization under Section 1407 will eliminate duplicative discovery; prevent inconsistent pretrial rulings, especially with respect to class certification; and conserve the resources of the parties, their counsel and the judiciary.
We are persuaded that the District of South Carolina is an appropriate transferee forum for this litigation, because the first-filed and more advanced action is pending there, and all responding parties favor centralization in the District of South Carolina.
IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. 1407, the action pending in the Northern District of Illinois is transferred to the District of South Carolina and, with the consent of that court, assigned to the Honorable C. Weston Houck for coordinated or consolidated pretrial proceedings with the action pending there.
NOTES
[*]  Judge Scirica did not participate in the decision of this matter.
[1]  American Moving &amp; Storage Association, Inc.; Allied Van Lines, Inc.; Atlas Van Lines, Inc.; Atlas World Group, Inc.; Bekins Van Lines, LLC; Mayflower Transit, LLC; North American Van Lines, Inc.; SIRVA Worldwide, Inc.; SIRVA, Inc.; UniGroup, Inc.; United Van Lines, LLC; and Wheaton Van Lines, Inc.

